         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 1 of 25



 1   ARNOLD & PORTER KAYE SCHOLER LLP
     Jonathan W. Hughes (SBN 186829)
 2   jonathan.hughes@arnoldporter.com
     Three Embarcadero Center, 10th Floor
 3   San Francisco, California 94111-4024
     Telephone:    1 415.471.3100
 4   Facsimile:    1 415.471.3400

 5   ARNOLD & PORTER KAYE SCHOLER LLP               ARNOLD & PORTER KAYE SCHOLER LLP
     Matthew T. Heartney (SBN 123516)               Philip H. Curtis (pro hac vice)
 6   matthew.heartney@arnoldporter.com              philip.curtis@arnoldporter.com
     John D. Lombardo (SBN 187142)                  Nancy Milburn (pro hac vice)
 7   john.lombardo@arnoldporter.com                 nancy.milburn@arnoldporter.com
     777 South Figueroa Street, 44th Floor          250 West 55th Street
 8   Los Angeles, California 90017-5844             New York, New York 10019-9710
     Telephone:    1 213.243.4000                   Telephone:     1 212.836.8000
 9   Facsimile:    1 213.243.4199                   Facsimile:     1 212.836.8689

10   Attorneys for Defendant BP p.l.c.

11

12                                 UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15

16   CITY OF OAKLAND, a Municipal                     First Filed Case: 3:17-cv-06011-WHA
     Corporation, and THE PEOPLE OF THE               Related Case: 3:17-cv-06012-WHA
17   STATE OF CALIFORNIA, acting by and
     through the Oakland City Attorney,               Case No. 3:17-cv-06011-WHA
18
                           Plaintiffs,                DEFENDANT BP P.L.C.’S AMENDED
19                                                    MEMORANDUM OF POINTS AND
            v.                                        AUTHORITIES IN SUPPORT OF
20                                                    MOTION TO DISMISS FIRST AMENDED
     BP P.L.C., a public limited company of           COMPLAINTS FOR LACK OF
21   England and Wales; CHEVRON                       PERSONAL JURISDICTION
     CORPORATION, a Delaware corporation;
22   CONOCOPHILLIPS, a Delaware corporation;          [Fed. R. Civ. P. 12(b)(2)]
     EXXONMOBIL CORPORATION, a New
23   Jersey corporation; ROYAL DUTCH SHELL            Date:          May 24, 2018
     PLC, a public limited company of England and     Time:          8:00 a.m.
24   Wales; and DOES 1 through 10,                    Courtroom:     12

25                         Defendants.                Judge: Honorable William H. Alsup

26

27

28
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 2 of 25



 1
     CITY AND COUNTY OF SAN                         Case No. 3:17-cv-06012-WHA
 2   FRANCISCO, a Municipal Corporation, and
     THE PEOPLE OF THE STATE OF
 3   CALIFORNIA, acting by and through the San
     Francisco City Attorney DENNIS J.
 4   HERRERA,
 5                       Plaintiffs,
 6          v.
 7   BP P.L.C., a public limited company of
     England and Wales; CHEVRON
 8   CORPORATION, a Delaware corporation;
     CONOCOPHILLIPS, a Delaware corporation;
 9   EXXONMOBIL CORPORATION, a New
     Jersey corporation; ROYAL DUTCH SHELL
10   PLC, a public limited company of England and
     Wales; and DOES 1 through 10,
11
                         Defendants.
12

13

14

15

16

17

18

19

20
21

22

23

24

25

26

27

28

      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
            Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 3 of 25



 1                                                         TABLE OF CONTENTS
 2                                                                                                                                                   Page
 3   INTRODUCTION ............................................................................................................................... 1

 4   BACKGROUND ................................................................................................................................. 3

 5             A.         The Cities’ Claim ......................................................................................................... 3

 6             B.         BP p.l.c.’s Lack Of Forum Contacts ............................................................................ 3

 7             C.         How The Cities Might Estimate BP p.l.c.’s Purported Contribution To The
                          Nuisance ....................................................................................................................... 5
 8
     ARGUMENT ....................................................................................................................................... 7
 9
     THE AMENDED COMPLAINTS SHOULD BE DISMISSED FOR LACK OF
10   PERSONAL JURISDICTION OVER BP P.L.C. ................................................................................ 7

11             A.         BP p.l.c. Is Not “At Home” (And Thus Subject To General Jurisdiction) In
                          The Forum .................................................................................................................... 9
12
               B.         Nor Is BP p.l.c. Subject To Specific Jurisdiction For This Claim ............................. 11
13
                          1.         The Claim Does Not Arise out of or Relate to BP p.l.c.’s Forum
14                                   Activities, Even Imputing All Claim-Related Activities of Indirect
                                     Subsidiaries to BP p.l.c. ................................................................................. 11
15
                                     a.         The amended complaints do not allege BP p.l.c.’s
16                                              California or U.S. activities are a but-for cause of the
                                                Cities’ claimed injury ......................................................................... 14
17
                                     b.         If the Cities rely on “attribution science,” that methodology
18                                              likewise is not evidence that BP p.l.c.’s forum contacts are
                                                a but-for cause of the claimed injury.................................................. 15
19
                                     c.         Permitting specific jurisdiction on the basis of these
20                                              tenuous links with the forum would subject BP p.l.c. to
                                                jurisdiction in every state, a result that cannot be squared
21                                              with recent Supreme Court decisions ................................................. 16

22                                   d.         Describing the operational details of indirect subsidiaries is
                                                not a substitute for pleading and proving the required but-
23                                              for causation ....................................................................................... 17

24                        2.         Exercising Jurisdiction over BP p.l.c. Would Be Unreasonable .................... 18

25   CONCLUSION .................................................................................................................................. 20

26

27

28

                                                                           -i-
       BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                            Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
            Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 4 of 25



 1                                                    TABLE OF AUTHORITIES

 2                                                                                                                                      Page(s)
 3   Cases
 4   Amba Mktg. Sys., Inc. v. Jobar Int’l, Inc.,
 5     551 F.2d 784 (9th Cir. 1977).......................................................................................................... 8

 6   Axiom Foods, Inc. v. Acerchem Int’l, Inc.,
        874 F.3d 1064 (9th Cir. 2017).............................................................................................. 8, 9, 11
 7
     BNSF Ry. Co. v. Tyrrell,
 8     137 S. Ct. 1549 (2017) ................................................................................................................. 10
 9   Brackett v. Hilton Hotels Corp.,
        619 F. Supp. 2d 810 (N.D. Cal. 2008) ......................................................................................... 11
10

11   Brayton Purcell LLP v. Recordon & Recordon,
        606 F.3d 1124 (9th Cir. 2010)........................................................................................................ 8
12
     Bristol-Myers Squibb Co. v. Superior Court,
13       137 S. Ct. 1773 (2017) .......................................................................................................... passim
14   Burger King Corp. v. Rudzewicz,
        471 U.S. 462 (1985) ..................................................................................................................... 18
15

16   CollegeSource, Inc. v. AcademyOne, Inc.,
        653 F.3d 1066 (9th Cir. 2011).................................................................................................... 8, 9
17
     Corcoran v. CVS Health Corp.,
18      169 F. Supp. 3d 970 (N.D. Cal. 2016) ........................................................................................... 8

19   Daimler AG v. Bauman,
        134 S. Ct. 746 (2014) ............................................................................................................ passim
20
     Doe v. Am. Nat’l Red Cross,
21
        112 F.3d 1048 (9th Cir. 1997).......................................................................................... 11, 13, 15
22
     Doe v. Unocal Corp.,
23      248 F.3d 915 (9th Cir. 2001).................................................................................................. 11, 12

24   Dole Food Co. v. Watts,
        303 F.3d 1104 (9th Cir. 2002)...................................................................................................... 11
25
     EcoDisc Tech. AG v. DVD Format/Logo Licensing Corp.,
26      711 F. Supp. 2d 1074 (C.D. Cal. 2010).......................................................................................... 9
27
     Goodyear Dunlop Tires Operations, S.A. v. Brown,
28      564 U.S. 915 (2011) ................................................................................................................. 9, 11

                                                                        - ii -
       BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                            Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
            Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 5 of 25



 1   Holland Am. Line Inc. v. Warstila N. Am., Inc.,
        485 F.3d 450 (9th Cir. 2007).......................................................................................................... 9
 2
     Martinez v. Aero Caribbean,
 3     764 F.3d 1062 (9th Cir. 2014)...................................................................................................... 10
 4
     Mavrix Photo, Inc. v. Brand Techs., Inc.,
 5     647 F.3d 1218 (9th Cir. 2011)........................................................................................................ 8

 6   Morrill v. Scott Fin. Corp.,
       873 F.3d 1136 (9th Cir. 2017)...................................................................................................... 11
 7
     Mulato v. Wells Fargo Bank, N.A.,
 8      76 F. Supp. 3d 929 (N.D. Cal. 2014) ............................................................................................. 8
 9   Panavision Int’l, L.P. v. Toeppen,
10      141 F.3d 1316 (9th Cir. 1998)................................................................................................ 18, 19

11   Perkins v. Benguet Consol. Mining Co.,
        342 U.S. 437 (1952) ..................................................................................................................... 10
12
     Ranza v. Nike, Inc.,
13      793 F.3d 1059 (9th Cir. 2015).................................................................................................... 8, 9
14   Rashidi v. Veritiss, LLC,
15      No. 2:16-cv-04761-CAS, 2016 WL 5219448 (C.D. Cal. Sept. 19, 2016) ................................... 12

16   Schwarzenegger v. Fred Martin Motor Co.,
        374 F.3d 797 (9th Cir. 2004).................................................................................................... 8, 11
17
     Sullivan v. Ford Motor Co.,
18       No. 16-cv-03505-JST, 2016 WL 6520174 (N.D. Cal. Nov. 3, 2016) .............................. 12, 14, 15
19   Swartz v. KPMG LLP,
        476 F.3d 756 (9th Cir. 2007).......................................................................................................... 8
20
21   Terracom v. Valley National Bank,
        49 F.3d 555 (9th Cir. 1995).................................................................................................... 13, 15
22
     World-Wide Volkswagen Corp. v. Woodson,
23     444 U.S. 286 (1980) ................................................................................................................. 7, 18
24   Rules
25   Fed. R. Civ. P. 4(k)(2) ...................................................................................................................... 8, 9
26   Fed. R. Civ. P. 12(b)(2) ........................................................................................................................ 2
27

28

                                                                         - iii -
       BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                            Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
           Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 6 of 25



 1                  AMENDED MEMORANDUM OF POINTS AND AUTHORITIES
 2           BP p.l.c. respectfully submits this amended memorandum in support of its motion to dismiss

 3   the first amended complaints for lack of personal jurisdiction. Fed. R. Civ. P. 12(b)(2).

 4                                                Introduction
 5           BP p.l.c. moves to dismiss for lack of personal jurisdiction. BP p.l.c. is a United Kingdom

 6   parent company that is not “at home” in California or the United States and therefore cannot be

 7   subjected to general jurisdiction under Daimler AG v. Bauman, 134 S. Ct. 746 (2014). Nor can BP

 8   p.l.c. be subjected to specific jurisdiction because the Cities’ claim does not “arise out of or relate to”

 9   BP p.l.c.’s claim-related forum contacts—even imputing all contacts of subsidiaries to BP p.l.c.1—as

10   that requirement is defined in Bristol-Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773 (2017), and

11   in controlling Ninth Circuit case law requiring that a foreign defendant’s forum contacts be a “but for”

12   cause of the claim.

13           Examining the expansive contours of the Cities’ claim reveals why the Cities cannot show, as

14   they must, that their claim would not exist but for BP p.l.c.’s imputed California or U.S. activities.

15   First, as the Court noted, the claim “attack[s] behavior worldwide.” (Order Denying Mots. To

16   Remand at 7:10-11, ECF No. 134; id. at 6 n.2 (the claims “are not localized . . . and instead concern

17   fossil fuel consumption worldwide”).) Indeed, the extraction, transportation, and/or burning of fossil

18   fuels has taken place at every spot on the surface of the earth and most spots under or on the oceans.

19   Second, the actors involved in the behaviors that are allegedly producing climate change and related

20   sea-level rise are equally vast in number. They include sovereign nations that own the fossil fuels and
21   decide to have them produced; private and sovereign companies that extract the fossil fuels who far

22   outnumber the five defendants the Cities have sued; transportation companies that move the raw

23   product to treatment and refining centers; and various end users (manufacturers; power plants; airlines;

24
     1
25    The Cities have named BP p.l.c. as a proxy for various separately organized indirect subsidiary
     companies that now or in times past have extracted oil or natural gas from the earth. They have done
26   so as a transparent expedient for trying to avoid the due process limitations on personal jurisdiction
     over those subsidiaries. While BP p.l.c. denies that its indirect subsidiaries’ production of fossil fuels
27   can properly be imputed to it for jurisdictional purposes, and reserves all rights in that regard for any
     other purpose or proceeding, solely for purposes of this motion it will assume that all fossil fuel
28   production in California or the United States by any indirect subsidiary may be imputed to BP p.l.c.

                                                       - 1-
         BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                  DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                              Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
           Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 7 of 25



 1   federal, state, and local governments; and ordinary folks who drive cars and heat homes) who burn the

 2   fossil fuels. Third, and most critically, the Cities have not alleged or shown that the fossil fuel

 3   production they would impute to BP p.l.c. and that occurred in California or other U.S. states made a

 4   jurisdictionally significant contribution to global greenhouse gas emissions, and consequently, to the

 5   alleged public nuisance.

 6           More specifically, as will be shown below, the Cities’ “attribution science” methodology2 does

 7   not even purport to establish any causal link between the oil and gas produced by indirect subsidiaries

 8   of BP p.l.c. in California or the United States since 1975—the earliest date the Cities allege defendants

 9   knew that burning fossil fuels would cause climate change and sea-level rise—and the claimed public

10   nuisance. The most that could possibly be inferred from those studies, moreover, is that this California

11   and U.S. production during that time period contributed a mere fraction of a fraction of the 2.47% of

12   global “industrial” greenhouse gas emissions that the studies purport to attribute to BP p.l.c. That

13   fraction would only be diluted further if the Cities’ method were used to estimate BP p.l.c.’s imputed

14   California and U.S. contributions to changes in global surface temperatures and sea-level rise (i.e., the

15   conditions said to be causing the nuisance).

16           Given this extraordinarily tenuous nexus, the Cities cannot show that their claimed property

17   harms would have appeared any different today in the absence of the California and U.S. activities of

18   BP p.l.c.’s indirect subsidiaries. It is unsurprising, therefore, that even after amending their original

19   complaints in response to BP p.l.c.’s initial motion to dismiss, the Cities still do not allege the essential

20   jurisdictional fact that BP p.l.c.’s California or U.S. activities are a but-for cause of the alleged public
21   nuisances in San Francisco and Oakland. The Court should accordingly dismiss the amended

22   complaints as against BP p.l.c. for lack of personal jurisdiction.

23

24

25

26
     2
       To be clear, although BP p.l.c. does not challenge the attribution methodology solely for purposes of
27   this motion, BP p.l.c. does not credit or otherwise subscribe to the methodology and, in fact, believes
     the analyses of Richard Heede and others discussed below (infra pp. 6-8) are flawed for a host of
28   reasons.

                                                       -2-
         BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                  DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                              Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
           Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 8 of 25



 1                                                 Background
 2   A.      The Cities’ Claim
 3           The Cities allege that global warming-induced sea-level rise is threatening public and private

 4   property in San Francisco and Oakland. (FAC ¶ 1.)3 They call each defendant a “multinational,

 5   vertically integrated oil and gas company” (id. ¶¶ 16, 19, 22, 25, 28) that is among the “ten largest

 6   producers [of fossil fuels] in all of history” (id. ¶ 92). BP p.l.c., they claim, is the fourth largest such

 7   producer. (Id. ¶ 94.b.) The Cities have not named as a defendant any other fossil fuel producer

 8   (including any of the other “largest cumulative producers” (id.)), nor other refiners, transporters, or

 9   sellers. Nor have they sued anyone for using (combusting) fossil fuels, which of course is what

10   releases greenhouse gases into the atmosphere. (Id. ¶¶ 74, 92.)

11           Defendants allegedly have known “since at least the late 1970s and early 1980s” that fossil

12   fuels would contribute to “dangerous global warming and associated accelerated sea level rise.”

13   (Id. ¶¶ 2, 5.) Fossil fuels do so, the Cities allege, by releasing “greenhouse gases, including carbon

14   dioxide (CO2) and methane, which trap atmospheric heat and increase global temperatures.” (Id.

15   ¶ 74.) Greenhouse gases emitted when a defendant’s fossil fuels are combusted “combine[]” in the

16   atmosphere “with the greenhouse gas emissions from fossil fuels produced by the other Defendants,

17   among others,” and can remain for hundreds of years or longer. (Id. ¶¶ 4, 140.) Despite allegedly

18   knowing these facts, defendants continued to produce “massive amounts of fossil fuels” and to

19   promote their usage as “environmentally responsible,” including by “denying mainstream climate

20   science.” (Id. ¶¶ 2, 5, 6.) The allegedly “wrongful conduct” at issue in the Cities’ claim “is the
21   production and promotion of fossil fuels.” (Pl.’s Reply Supp. Mot. Remand at 18, ECF No. 91.) The

22   Cities are not suing defendants for their “direct emissions of greenhouse gases.” (FAC ¶ 11.)

23   B.      BP p.l.c.’s Lack Of Forum Contacts
24           BP p.l.c. is a public limited company that is registered in England and Wales and

25   headquartered in London, England. (FAC ¶ 16.) The Cities do not allege that BP p.l.c. itself is “at

26
     3
27     The allegations contained in the Cities’ first amended complaints are materially identical, and
     therefore, for ease of reference, all citations to “FAC” in this Motion are to the first amended
28   complaint filed by the City and County of San Francisco in Case No. 3:17-cv-06012-WHA.

                                                       -3-
         BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                  DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                              Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
          Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 9 of 25



 1   home” or even operates in California or the United States, as opposed to operating only indirectly

 2   through subsidiaries. Nor do the Cities allege that any of BP p.l.c.’s indirect subsidiaries are

 3   themselves “at home” in California.

 4           In one lengthy and repetitive paragraph, the Cities list eight indirect subsidiaries of BP p.l.c.

 5   that allegedly “do business,” are registered to do business, and have designated agents for service of

 6   process in California. (FAC ¶ 35 (calling each an “agent” of BP p.l.c.).) The Cities allege that

 7   “through its subsidiaries,” BP p.l.c. has “[c]onnections [t]o California” that have included owning or

 8   operating port facilities to receive crude oil, shipping Alaskan crude oil to California, licensing the

 9   ARCO trademark and brand to gasoline stations, and promoting gasoline sales over a company Web

10   site that offers credit cards and gasoline discounts. (Id. at 10:18, ¶¶ 35-41.) The Cities do not allege

11   that these California activities caused their claimed sea-level rise injuries, however.

12           The Cities go on to allege that BP p.l.c., “through its subsidiaries and agents,” also “does

13   business in the United States.” (Id. ¶ 42.) These business activities are alleged to include producing

14   fossil fuels in the Gulf of Mexico, Alaska, Colorado, New Mexico, Oklahoma, and Wyoming; owning

15   refineries (in Illinois, Ohio, and Washington) and pipelines in various states; marketing gasoline

16   through BP-branded stations; and registering the BP trademark with USPTO. (Id. ¶¶ 42-50.) Again,

17   the Cities do not allege that their claimed climatic injuries would not have existed but for these U.S.

18   activities of BP p.l.c.’s indirect subsidiaries.

19           Indeed, even after amending the original complaints in response to BP p.l.c.’s initial motion to

20   dismiss, the Cities still do not allege, either factually or conclusorily, that BP p.l.c.’s purported forum
21   activities gave rise to the alleged public nuisance. Nor do they allege that global levels of greenhouse

22   gases in the atmosphere (which are what the Cities assert cause climate change) would have decreased

23   at all in the absence of BP p.l.c.’s alleged contacts with California or the United States. Based on the

24   amended complaints’ citations to the 2014 and 2015 articles discussed in the next section, the Cities

25   likely will seek to rely on an “attribution science” theory to try to prove BP p.l.c.’s individual

26   contribution to climate change. However, that theory cannot fill this jurisdictional void because it

27   does not show that the alleged sea-level-rise harm would not have arisen but for the fossil fuels

28

                                                        -4-
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
          Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 10 of 25



 1   extracted from California or the United States by indirect subsidiaries of BP p.l.c., which could have

 2   made at most a de minimis contribution to emissions, if that attribution science theory is believed.

 3   C.     How The Cities Might Estimate BP p.l.c.’s Purported Contribution To The Nuisance
 4          The Cities assert that defendants “are substantial contributors to the public nuisance of global

 5   warming that is causing injury to Plaintiffs.” (Id. ¶ 10.) Indeed, the Cities claim defendants’ products

 6   “contribute[] measurably to global warming and to sea level rise” (id.), and they may claim they have

 7   quantified defendants’ individual and collective contributions to global greenhouse gas emissions and

 8   associated global warming and sea-level rise. BP p.l.c. disagrees. But as purported support for the

 9   Cities’ position, the amended complaints numerically rank each defendant on a supposed list of the

10   “largest cumulative producers of fossil fuels” that plaintiffs copied from a 2014 study by Richard

11   Heede in the purported field of climate “attribution science” (id. ¶ 94.b & n.71), and cite a 2015 “peer-

12   reviewed scientific” study (id. ¶ 94.f & n.74) entitled “The Climate Responsibilities of Industrial

13   Carbon Producers,” which, building on Heede’s earlier work, claims to quantify “the responsibility of

14   industrial carbon producers” for “anthropogenic climate change.” (Peter C. Frumhoff, Richard Heede,

15   Naomi Oreskes, The Climate Responsibilities of Industrial Carbon Producers, 132 Climatic Change

16   157, 161-62 & Fig. 2 (2015), available at https://link.springer.com/content/pdf/10.1007%2Fs10584-

17   015-1472-5.pdf.) The Cities’ lead counsel has called the methodology utilized in these studies

18   “hugely important” because it “individualizes responsibility” for climate change “in a way that had not

19   been done before.” (Dan Zegart, Want To Stop Climate Change? Take the Fossil Fuel Industry to

20   Court, The Nation, May 12, 2014, available at https://www.thenation.com/article/want-stop-climate-
21   change-take-fossil-fuel-industry-court/.) In particular, according to the Cities’ attorney, these

22   attribution science methodologies “help[] assign blame” by providing “a list with names and numbers”

23   (id.)—a list that “demonstrate[s] how much of the carbon dioxide and methane from the combustion of

24   fossil fuels in the atmosphere is attributable to Exxon and Chevron and other particular companies

25   going back to the 1800s.” (Climate Reparations: Companies to Be Liable for “Harm” “Going Back

26   to the 1800s,” YouTube (Feb. 18, 2016), https://www.youtube.com/watch?v=KFsGJ1-iEo8.)

27          As noted, BP p.l.c. disagrees with these studies, which it views as flawed in numerous respects.

28   (Supra note 2.) But if their estimates are accepted arguendo solely for purposes of this motion, the

                                                      -5-
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
           Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 11 of 25



 1   studies would attribute to all defendants as a group 11% (FAC ¶ 94.c), and to BP p.l.c. individually

 2   2.47%, of global “industrial” greenhouse gas emissions between 1854 and 2010 (Richard Heede,

 3   Tracing Anthropogenic Carbon Dioxide and Methane Emissions to Fossil Fuel and Cement

 4   Producers, 1854-2010, 122 Climatic Change 229, 237 Table 3 (2014) (“Heede 2014”), available at

 5   https://link.springer.com/content/pdf/10.1007%2Fs10584-013-0986-y.pdf). The studies do not supply

 6   evidence of any causal relationship between BP p.l.c.’s (or any defendant’s) claim-related California

 7   or U.S. activities for purposes of establishing personal jurisdiction, for at least the following reasons:

 8           First, the greenhouse gas emissions the studies would attribute to BP p.l.c. are not based on its

 9   California or U.S. production of fossil fuels at all, but instead on estimates of worldwide fossil fuel and

10   cement production by each of what the studies call ninety “Carbon Majors,” including data on oil, gas,

11   and coal production by worldwide affiliates of BP p.l.c. (or predecessor entities).4 (Id. at 231-32; see

12   also Richard Heede, Carbon Majors: Accounting for Carbon and Methane Emissions 1854-2010

13   Methods and Results Report at 9–15 (Apr. 7, 2014), available at http://carbonmajors.org/wp/wp-

14   content/uploads/2014/04/MRR-9.1-Apr14R.pdf.) Thus, the studies do not even purport to reveal any

15   information about emissions linked to any producer’s California or U.S. activities in particular.

16           Second, the emissions the studies would attribute to BP p.l.c. are not limited to claim-related

17   production, because they are based on the authors’ estimates of production going back to 1913. (Id.)

18   The Cities, however, claim that defendants have tortiously produced and promoted fossil fuel products

19   since the late 1970s and early 1980s, when they allege defendants first knew of the dangers of global

20   warming. (FAC ¶ 2.) If the Cities’ centuries-long studies of worldwide production were limited to
21   counting only BP p.l.c.’s imputed California or U.S. production during the years 1975 to 2010, plainly

22   they would attribute a mere fraction of a fraction of their 2.47% of global emissions to BP p.l.c.

23           Third, in estimating each producer’s share of industrial emissions, the Cities’ studies reveal

24   nothing about any causal relationship between fossil fuel production and the global warming and sea-

25

26   4
      These studies even impute production to BP p.l.c. by business entities that BP p.l.c. did not own
27   when the production occurred. For example, Amoco did not join BP p.l.c until 1998, yet the studies
     count that company’s pre-1998 production in BP p.l.c.’s total. As noted, BP p.l.c. does not contest that
28   imputation solely for purposes of this motion. (Supra note 1.)

                                                      -6-
         BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                  DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                              Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
           Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 12 of 25



 1   level rise injuries the Cities complain of here. Indeed, in a more recent study, which introduces new

 2   flaws on top of those in the original ones, Heede and collaborating authors extend their original

 3   analysis to attempt to quantify not merely individual contributions to emissions, but also to changes in

 4   global mean surface temperatures and global sea levels. (Ekwurzel, B., J. Boneham, M.W. Dalton, R.

 5   Heede, R.J. Mera, M.R. Allen, & P.C. Frumhoff, The Rise in Global Atmospheric CO2, Surface

 6   Temperature and Sea Level from Emissions Traced to Major Carbon Producers, 144 Climatic Change

 7   579 (2017), available at https://link.springer.com/content/pdf/10.1007%2Fs10584-017-1978-0.pdf.)

 8   This study claims to attribute approximately 1.5% and 0.5% of historical global sea-level rise to

 9   emissions from BP p.l.c.’s worldwide fossil fuels production over the periods 1880-2010 and 1980-

10   2010, respectively. (Id. at 585 Fig. 2.) Again, this study does not even purport to find any link

11   between BP p.l.c.’s California or U.S. production and the Cities’ claimed injuries.5

12                                                Argument
13
                     THE AMENDED COMPLAINTS SHOULD BE DISMISSED
14                  FOR LACK OF PERSONAL JURISDICTION OVER BP P.L.C.

15           Due process limits the power of a court “to render a valid personal judgment against a

16   nonresident defendant.” World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 291 (1980). The

17   Supreme Court “recognize[s] two types of personal jurisdiction: ‘general’ (sometimes called ‘all-

18   purpose’) jurisdiction and ‘specific’ (sometimes called ‘case-linked’) jurisdiction.” Bristol-Myers

19   Squibb Co., 137 S. Ct. at 1779-80. General jurisdiction permits a court to hear “any claim against that

20   defendant, even if all the incidents underlying the claim occurred in a different State.” Id. at 1780. By
21

22
     5
23     Of course, all of these contribution percentages would have to be further slashed if they were to
     represent BP p.l.c.’s purportedly tortious contribution to the Cities’ claimed injuries. The Cities do not
24   allege that all fossil fuel production would have ceased in the late 1970s or early 1980s but for
     defendants’ supposed efforts to cast doubt on climate science. In view of built-in structural demand
25   for fossil fuels (e.g., internal combustion engines and industrial machinery) and the lack of ready
     alternatives, any drop in BP p.l.c.’s production would surely have been replaced by another producer.
26   Even if the Cities deny this, however, they still must concede that a very substantial share of the
     demand for fossil fuel production would have persisted even in the absence of any claimed tortious
27   activity. Thus, only a mere fraction of BP p.l.c.’s imputed California and U.S. contributions to global
     anthropogenic greenhouse gas emissions can even theoretically be regarded as a potentially tortious
28   contribution.

                                                     -7-
         BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                  DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                              Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 13 of 25



 1   contrast, a court exercising specific jurisdiction may only hear suits that “arise[e] out of or relat[e] to

 2   the defendant’s contacts with the forum.” Id.

 3          The plaintiff bears the burden of establishing that jurisdiction is proper, Ranza v. Nike, Inc.,

 4   793 F.3d 1059, 1068 (9th Cir. 2015), and must make “a prima facie showing of jurisdictional facts to

 5   withstand the motion to dismiss,” id. (quoting CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d

 6   1066, 1073 (9th Cir. 2011) (quoting Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d 1124,

 7   1127 (9th Cir. 2010))). In evaluating whether the plaintiff has met this burden, the court may not take

 8   as true “mere ‘bare bones’ assertions of minimum contacts with the forum or legal conclusions

 9   unsupported by specific factual allegations.” Swartz v. KPMG LLP, 476 F.3d 756, 766 (9th Cir. 2007)

10   (emphasis added); Mulato v. Wells Fargo Bank, N.A., 76 F. Supp. 3d 929, 943 (N.D. Cal. 2014). Nor

11   may the court “assume the truth of allegations in a pleading which are contradicted by affidavit.”

12   Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1223 (9th Cir. 2011). In those instances, the

13   plaintiff “cannot ‘simply rest on the bare allegations of its complaint’” to meet its burden to establish

14   the essential jurisdictional facts. Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th

15   Cir. 2004) (quoting Amba Mktg. Sys., Inc. v. Jobar Int’l, Inc., 551 F.2d 784, 787 (9th Cir. 1977)); see

16   Corcoran v. CVS Health Corp., 169 F. Supp. 3d 970, 979 (N.D. Cal. 2016) (the plaintiff’s prima facie

17   showing requires “producing admissible evidence which, if believed, would be sufficient to establish

18   the existence of personal jurisdiction”).

19          Here, the Cities have not pleaded and cannot prove the facts needed to establish either general

20   or specific jurisdiction over BP p.l.c. The amended complaints set forth a laundry list of purported
21   “[c]onnections” with California and other U.S. states, apparently in an effort to invoke alternative

22   jurisdictional theories. (FAC at 10:18, ¶¶ 35-50.) The first theory is that jurisdiction exists under

23   California’s long-arm statute, which permits jurisdiction as broadly as due process allows. See Axiom

24   Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1067 (9th Cir. 2017) (“the jurisdictional analyses

25   under [California] state law and federal due process are the same” (quoting Mavrix Photo, Inc., 647

26   F.3d at 1223)). The second is that jurisdiction exists under the so-called federal long-arm statute of

27   Federal Rule of Civil Procedure 4(k)(2). That Rule permits a federal court to exercise jurisdiction over

28   a foreign defendant for a claim arising under federal law, if the defendant is not subject to personal

                                                       -8-
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
          Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 14 of 25



 1   jurisdiction in any state and the exercise of jurisdiction comports with due process. Id. at 1072. The

 2   due process analysis under Rule 4(k)(2) is “nearly identical to traditional personal jurisdiction analysis

 3   with one significant difference: rather than considering contacts between [the defendant] and the

 4   forum state, [the court] consider[s] contacts with the nation as a whole.” Id. (quoting Holland Am.

 5   Line Inc. v. Warstila N. Am., Inc., 485 F.3d 450, 462 (9th Cir. 2007)). The rule applies only in “rare

 6   situations” where the defendant has “extensive contacts to the country.” EcoDisc Tech. AG v. DVD

 7   Format/Logo Licensing Corp., 711 F. Supp. 2d 1074, 1086 n.6 (C.D. Cal. 2010); see Holland Am. Line

 8   Inc., 485 F.3d at 462 (“[I]n the fourteen years since Rule 4(k)(2) was enacted, none of our cases has

 9   countenanced jurisdiction under the rule.”).

10          Exercising jurisdiction over BP p.l.c. in this case would be improper under either theory, for

11   the same set of reasons, as shown below.

12   A.     BP p.l.c. Is Not “At Home” (And Thus Subject To General Jurisdiction) In The Forum
13          A foreign corporation is not subject to general jurisdiction in a forum unless its “affiliations

14   with the State are so ‘continuous and systematic’ as to render [it] essentially at home in the forum

15   State.” Daimler AG, 134 S. Ct. at 754 (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown,

16   564 U.S. 915, 919 (2011)). Except in “an exceptional case,” a corporation is only “at home” in a

17   forum where it is incorporated or has its principal place of business. Id. at 760-62 & n.19; Ranza, 793

18   F.3d at 1069. Thus, even a large corporation that operates—and records “sizable” sales—in many

19   places “can scarcely be deemed at home in all of them,” as that result would improperly convert “at

20   home” into a “doing business” test. Daimler AG, 134 S. Ct. at 761-62 & n.20. Rather, a foreign
21   corporation’s affiliations with the forum must be “comparable to a domestic enterprise in that State”

22   for it to be considered at home. Id. at 758 n.11. A plaintiff who invokes general jurisdiction “must

23   meet an ‘exacting standard’ for the minimum contacts required,” because of the “much broader”

24   assertion of judicial authority the foreign defendant faces. Ranza, 793 F.3d at 1069 (quoting

25   CollegeSource, Inc., 653 F.3d at 1074).

26          There can be no reasonable debate that BP p.l.c. is not at home in California or in the United

27   States. As the Cities admit, BP p.l.c. is a “multinational, vertically integrated oil and gas company”

28   that is “registered in England and Wales with its headquarters in London, England.” (FAC ¶ 16.)

                                                     -9-
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
           Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 15 of 25



 1   Nothing in the amended complaints would justify treating this as an “exceptional case,” moreover.

 2   The Cities do not allege, for example, that California or the United States has become BP p.l.c.’s

 3   global nerve center, nor even that BP p.l.c. itself operates in the United States.6

 4           Far from alleging facts that could establish that BP p.l.c. is at home in California or the United

 5   States, the amended complaints merely allege that subsidiaries of BP p.l.c. have done or are doing

 6   business here, precisely as the plaintiff in Daimler AG alleged. For example, the Cities allege that

 7   subsidiaries of BP p.l.c. produce and sell fossil fuel products to California and U.S. residents; operate

 8   California port facilities where they receive crude oil; transport Alaskan crude oil to California;

 9   promote gasoline sales by offering credit cards and discounts; license the ARCO trademark and brand

10   to California gasoline stations; and produce oil in the Gulf of Mexico. (FAC ¶¶ 35-50.) Even

11   imputing these subsidiaries’ U.S. business activities to BP p.l.c. (as the Court assumed arguendo in

12   Daimler AG), they at most show that BP p.l.c. does substantial, continuous business in California and

13   other states, just as Daimler did as California’s “largest supplier of luxury vehicles” and through its

14   multiple California-based facilities, see 134 S. Ct. at 752, and just as BNSF Railway Company did in

15   Montana, where its 2,000 workers and 2,000 miles of railroad track did not render it “at home,” see

16   BNSF Ry. Co., 137 S. Ct. at 1559; see also Martinez v. Aero Caribbean, 764 F.3d 1062, 1070 (9th Cir.

17   2014) (“This is not such an exceptional case,” where foreign defendant had “no offices, staff, or other

18   physical presence in California, and it [was] not licensed to do business in the state”). More is needed

19   to render a foreign corporation at home. The amended complaints here provide nothing more,

20   however.
21           The Cities have not met, and cannot meet, their “exacting” burden to show that BP p.l.c. is at

22   home in California or the United States.

23

24   6
       In the case the Supreme Court points to as “exemplif[ying]” the “exceptional case,” a Philippines
25   corporation was forced to cease operating in its home nation during the Japanese occupation in World
     War II, and its president moved to Ohio, where he kept an office, maintained the company’s files, and
26   oversaw the company’s operations. Perkins v. Benguet Consol. Mining Co., 342 U.S. 437, 448 (1952);
     see BNSF Ry. Co. v. Tyrrell, 137 S. Ct. 1549, 1558 (2017) (discussing Perkins). General jurisdiction
27   in Ohio over the foreign corporation was proper in these unusual circumstances because it effectively
     had moved its principal place of business there, if only temporarily, making Ohio “the center of the
28   corporation’s wartime activities.” Daimler AG, 134 S. Ct. at 756 & n.8.

                                                      - 10 -
         BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                  DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                              Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
          Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 16 of 25



 1   B.     Nor Is BP p.l.c. Subject To Specific Jurisdiction For This Claim
 2          In contrast with general jurisdiction, for a forum to assert specific jurisdiction over a

 3   nonresident, “there must be ‘an affiliation between the forum and the underlying controversy,

 4   principally, [an] activity or an occurrence that takes place in the forum State and is therefore subject to

 5   the State’s regulation.’” Bristol-Myers Squibb Co., 137 S. Ct. at 1780 (quoting Goodyear Dunlop

 6   Tires Operations, 564 U.S. at 919). More specifically, “‘the suit’ must ‘aris[e] out of or relat[e] to the

 7   defendant’s contacts with the forum.” Id. (quoting Daimler AG, 134 S. Ct. at 754). In accord with the

 8   Supreme Court’s direction, the Ninth Circuit recognizes “three requirements for a court to exercise

 9   specific jurisdiction over a nonresident defendant”:

10          (1) the defendant must either “purposefully direct his activities” toward the forum or

11          “purposefully avail[] himself of the privileges of conducting activities in the forum”;

12          (2) “the claim must be one which arises out of or relates to the defendant’s forum-

13          related activities”; and (3) “the exercise of jurisdiction must comport with fair play and

14          substantial justice, i.e. it must be reasonable.”

15   Axiom Foods, Inc., 874 F.3d at 1068 (quoting Dole Food Co. v. Watts, 303 F.3d 1104, 1111 (9th Cir.

16   2002)); accord Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1142 (9th Cir. 2017). The plaintiff bears

17   the burden of satisfying the first two prongs of the test. Schwarzenegger, 374 F.3d at 802.

18          None of the requirements for exercising specific jurisdiction is met here.

19
            1.      The Claim Does Not Arise out of or Relate to BP p.l.c.’s Forum Activities, Even
20                  Imputing All Claim-Related Activities of Indirect Subsidiaries to BP p.l.c.

21          A claim arises out of or relates to the defendant’s forum-related activities only if the plaintiff

22   “would not have sustained her injury, ‘but for’” that activity. Doe v. Am. Nat’l Red Cross, 112 F.3d

23   1048, 1051-52 (9th Cir. 1997); Doe v. Unocal Corp., 248 F.3d 915, 924 (9th Cir. 2001) (“the Court

24   considers whether [the] plaintiffs’ claims would have arisen but for [the defendant]’s contacts with

25   California”); Brackett v. Hilton Hotels Corp., 619 F. Supp. 2d 810, 818 (N.D. Cal. 2008) (“arises out

26   of or relates to” prong “requires a showing of ‘but for’ causation—plaintiff must demonstrate that she

27   would not have been injured but for defendants’ conduct directed toward her in the forum”). Under

28   this “but for” test, the plaintiff must present evidence showing that other contributing forces would not

                                                      - 11 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 17 of 25



 1   still have produced his or her injury in the absence of the defendant’s suit-related forum contacts.

 2   Rashidi v. Veritiss, LLC, No. 2:16-cv-04761-CAS (JPRx), 2016 WL 5219448, at *6 (C.D. Cal. Sept.

 3   19, 2016). Where the plaintiff presents “no evidence” that the defendant’s forum activities were a

 4   “necessary” cause of that injury, the requirement is not met. Unocal Corp., 248 F.3d at 925; accord

 5   Bristol-Myers Squibb Co., 137 S. Ct. at 1781 (where the defendant’s California activities did not cause

 6   the plaintiffs’ alleged injuries, no “adequate link” supported specific jurisdiction).

 7           In Doe v. Unocal Corp., for example, Burmese farmers alleged they suffered human rights

 8   violations at the hands of a French energy corporation (Total S.A.), among others, in furtherance of a

 9   gas pipeline project in Burma. Id. at 920. They claimed Total was subject to specific jurisdiction in

10   California by virtue of Total’s joint venture agreement with its co-venturer on the pipeline project, a

11   California corporation (Unocal Corp.). The court held the plaintiffs had failed to meet their burden

12   under the but-for test because they “present[ed] no evidence . . . suggesting that the pipeline project

13   would not have gone forward without Total’s dealings with Unocal” in California. Id. at 925. Total’s

14   California contacts were, in short, “not necessary to the initiation of the project” that allegedly led to

15   the plaintiffs’ injuries. Id.

16           Where the defendant conducts business on a national or global scale, the plaintiff must show

17   that the defendant’s forum activities, in particular, were a but-for cause of its injuries. In Sullivan v.

18   Ford Motor Co., No. 16-cv-03505-JST, 2016 WL 6520174 (N.D. Cal. Nov. 3, 2016), for example, the

19   court held that Ford was not subject to specific jurisdiction in California for a claim alleging injury

20   from a defectively designed truck, despite Ford’s “nationwide marketing, promotion, and distribution
21   of cars and trucks,” its active marketing of vehicles in California, and its sale of over 200,000 vehicles

22   in the state in one year, because the specific truck that injured the plaintiff was not designed, made, or

23   sold to a Ford dealership in California. Id. at *2-3. Given these facts, the court concluded, “there

24   [was] every reason to think that [the plaintiff]’s injury would have occurred regardless of Ford’s

25   contacts with California. In other words, [the plaintiff] cannot satisfy the Ninth Circuit’s ‘but for’

26   test.” Id. at *3. Sullivan is in accord with the Supreme Court’s more recent holding in Bristol-Myers

27   Squibb Co., that BMS could not be subjected to specific jurisdiction in California for injury claims

28   involving its drug Plavix, brought by patients who obtained Plavix through sources outside of

                                                      - 12 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 18 of 25



 1   California. See 137 S. Ct. at 1778. Even though BMS sold almost 187 million Plavix pills in

 2   California, taking in more than $900 million, and employed 250 sales reps in California, the Court

 3   held that there was no “adequate link between the State and the nonresidents’ claims,” because the

 4   specific pills that injured the plaintiffs were not developed, made, labelled, packaged, or sold to them

 5   in California. Id. at 1778, 1781. To permit jurisdiction over these claims merely because BMS also

 6   sold Plavix to patients in California would, the Court explained, “resemble[] a loose and spurious form

 7   of general jurisdiction” that could not be squared with its precedents. Id. at 1781.

 8          Forum activities also fail the but-for test when actors other than the defendant contributed to

 9   the plaintiff’s injury and the plaintiff accordingly cannot show that its injury would have been avoided

10   but for the forum-related conduct of the defendant. In Terracom v. Valley National Bank, 49 F.3d 555

11   (9th Cir. 1995), for example, the court held that a Kentucky bank’s act of signing a “certificate of

12   sufficiency” without properly investigating the financial strength of a payment bond surety for a

13   California public works project was not a but-for cause of the plaintiff’s (a construction subcontractor)

14   injury because a third party, the federal officer who awarded the contract, had “the sole responsibility

15   of determining the acceptability of an individual surety,” considered factors other than the bank’s

16   certificate in his evaluation, and might have approved the surety even if the bank had not signed the

17   certificate. Id. at 561. Put simply, an actor other than the bank contributed to the plaintiff’s injury,

18   making it impossible to say that the plaintiff’s injury would not have arisen but for the bank’s contacts

19   with California. Id. Similarly, in Doe v. American National Red Cross, the court held that the failure

20   of a federal official charged with ensuring the safety of the blood supply to bar high-risk groups from
21   donating blood, to publicize the risks of blood transfusions, and to encourage blood companies to

22   implement certain blood safety tests was not a but-for cause of the plaintiff’s injury because other

23   actors had greater control over the flow of blood and blood products into the forum state. 112 F.3d

24   at 1051 (“Therefore, it cannot be said that [the plaintiff] would not have sustained her injury, ‘but for’

25   [the official’s] alleged misconduct.”).

26

27

28

                                                      - 13 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 19 of 25



 1                  a.      The amended complaints do not allege BP p.l.c.’s California or
                            U.S. activities are a but-for cause of the Cities’ claimed injury
 2
            Here, the Cities have not alleged, either factually or even in conclusory terms, that BP p.l.c.’s
 3
     California or U.S. activities are a but-for cause of the “global warming-induced sea level rise” they say
 4
     is damaging their coastlines. Indeed, not only is the concept of but-for causation entirely missing from
 5
     the amended complaints, but the Cities’ allegations leave no doubt that their theory is that the alleged
 6
     public nuisance resulted from all human contributions to increased greenhouse gas levels in the
 7
     atmosphere, including but certainly not limited to the worldwide production of fossil fuels by
 8
     defendants and others. (FAC ¶¶ 16-18 (alleging BP p.l.c. is “a multinational, vertically integrated oil
 9
     and gas company” that “is responsible for” all “past and current production and promotion of fossil
10
     fuel products” by all of “its subsidiaries”); id. ¶ 10 (each defendant is a “substantial contributor[] to the
11
     public nuisance of global warming” based on its global “cumulative production of fossil fuels”).) As
12
     the Court has observed, “greenhouse gases emanating from overseas sources are equally guilty
13
     (perhaps more so) of causing plaintiffs’ harm” as are gases emanating from the consumption of
14
     defendants’ fuels in the United States. (Order Denying Mots. To Remand at 7:11-13, ECF No. 134.)
15
     But alleging that all worldwide fossil fuel production “substantially contributed” to the purported
16
     nuisance is a far stretch from alleging that BP p.l.c.’s California or U.S. production is a but-for cause
17
     of the nuisance. In particular, the amended complaints do not allege, and the Cities cannot show, that
18
     if BP p.l.c. had reduced or even halted its indirect subsidiaries’ extraction activities in California or the
19
     United States as a whole, worldwide greenhouse gas emissions would have decreased, curtailing
20
     global warming and sea-level rise. Nothing in the amended complaints negates the far more plausible
21
     inference that other suppliers simply would have replaced BP p.l.c.’s limited U.S. production to satisfy
22
     the durable demand for fossil fuels, which users would have combusted at the same rate. The Cities’
23
     causal theory is thus jurisdictionally deficient under Bristol-Myers Squibb Co. and Sullivan, which
24
     teach that nationwide or global activities by a large corporation—even activities of the sort the
25
     plaintiff complains of—do not establish the requisite but-for causal link between the defendant’s in-
26
     forum activities and the plaintiff’s injury.
27

28

                                                      - 14 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 20 of 25



 1           Also negating the essential but-for causation is the amended complaints’ allegation that

 2   innumerable other fossil fuel producers besides BP p.l.c. have contributed to the alleged nuisance. The

 3   Cities admit they have only sued a handful of the world’s “largest cumulative producers of fossil fuels

 4   worldwide.” (FAC ¶ 94.b.) And they aver that global warming results not from the emissions

 5   attributable to any single producer’s production, but rather because greenhouse gases from fossil fuels

 6   produced by all producers—defendant and non-defendant—combine in the global atmosphere where

 7   they cannot be physically traced to an individual producer. (Id. ¶ 140 (“emissions of greenhouse gases

 8   from the fossil fuels [each defendant] produces combines [sic] with the greenhouse gas emissions from

 9   fossil fuels produced by the other Defendants, among others, to result in dangerous levels of global

10   warming”) (emphasis added).) These allegations, too, are deficient to meet the Cities’ burden to plead

11   that BP p.l.c.’s California or U.S. activities are a but-for cause of their claimed sea-level rise harm,

12   because, as in Terracom and Doe v. American National Red Cross, it cannot be said that contributions

13   of actors other than BP p.l.c. would not have been sufficient to cause that harm but for BP p.l.c.’s

14   California or U.S. activities.

15           In sum, the amended complaints allege BP p.l.c., the other defendants, and myriad others,

16   acting around the globe, have produced massive amounts of fossil fuels, yet nowhere allege that the

17   Cities “would not have sustained [their] injury” but for BP p.l.c.’s forum activities. See Am. Nat’l Red

18   Cross, 112 F.3d at 1051-52. From all that appears in the amended complaints, therefore, “there is

19   every reason to think that [the Cities’] injury would have occurred regardless of [BP p.l.c.]’s contacts

20   with California” and the United States. See Sullivan, 2016 WL 6520174, at *3. The amended
21   complaints accordingly fail to plead that the Cities’ claims arise out of or relate to BP p.l.c.’s forum

22   activities.

23                  b.      If the Cities rely on “attribution science,” that methodology
                            likewise is not evidence that BP p.l.c.’s forum contacts are a
24                          but-for cause of the claimed injury
25           The Cities cannot meet their burden on this motion because, as shown, the amended complaints

26   do not plead any jurisdictionally sufficient nexus between BP p.l.c.’s alleged in-forum activity and the

27   Cities’ claimed injuries. If the Cities try to overcome their pleadings’ deficiencies by turning to

28   attribution science, that theory will not help them either. As explained above, those studies seek to

                                                      - 15 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 21 of 25



 1   estimate BP p.l.c.’s attributed share of emissions (i) only on a worldwide basis, (ii) only since the

 2   dawn of the Industrial Revolution, and (iii) without connecting that alleged emissions contribution to

 3   the Cities’ claimed sea-level-rise harms. (Supra pp. 7-8.) The studies thus furnish no evidence to

 4   establish the requisite causal link between BP p.l.c.’s California or U.S. activities and the Cities’

 5   injuries. To the contrary, based on the Cities’ record, there is every reason to think the Cities’ injury

 6   would be no different regardless of BP p.l.c.’s insubstantial forum-related contribution.

 7          Indeed, the Cities themselves have said as much. They argued that far more massive amounts

 8   of fossil fuel production are not a but-for cause of their injury, in opposing subject matter jurisdiction

 9   under the Outer Continental Shelf Lands Act (“OCSLA”). In particular, the Cities argued offshore

10   production on the OCS, which has constituted up to one-third of all domestic oil and gas production,

11   “is not a but-for cause of the People’s injuries.” (Pl.’s Reply Supp. Mot. Remand at 20-21, ECF No.

12   91.) The Cities called OCS production, which dwarfs BP p.l.c.’s imputed forum production, “only a

13   small subset” of the activities on which their nuisance claim is based. (Id. at 20.) And they flatly

14   asserted that “the People would have a claim even absent any OCS conduct.” (Id. at 21.) A fortiori,

15   the Cities would have a claim even absent BP p.l.c.’s California and U.S. conduct.

16                  c.      Permitting specific jurisdiction on the basis of these tenuous links with
                            the forum would subject BP p.l.c. to jurisdiction in every state, a result
17                          that cannot be squared with recent Supreme Court decisions
18          As discussed above, in two recent decisions the Supreme Court made abundantly clear that

19   large national or international businesses are not, by virtue of their sprawling operations, subject to

20   jurisdiction everywhere on claims lacking an adequate causal nexus to their forum activities. First, in
21   Daimler AG, the Court held that Daimler’s extensive national vehicle distribution operations (which

22   the Court imputed arguendo to Daimler), multiple California facilities, and California sales accounting

23   for 2.4% of its worldwide sales, did not render Daimler “at home” in California because, were the law

24   otherwise, “the same global reach would presumably be available in every other State in which

25   MBUSA’s sales are sizable” and would destroy foreign companies’ ability to structure their operations

26   to allow for reasonably predictable jurisdictional outcomes. 134 S. Ct. at 761-62. Then, in Bristol-

27   Myers Squibb Co., the Court held that BMS’ sales of Plavix pills in every state, including over $900

28   million in California, which accounted for more than 1% of the company’s nationwide sales revenue

                                                     - 16 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 22 of 25



 1   from all products, did not subject BMS to specific jurisdiction in California for claims by patients who

 2   obtained their medication outside California, because exercising specific jurisdiction in the absence of

 3   “any adequate link between the State and the nonresidents’ claims” would “resemble[] a loose and

 4   spurious form of general jurisdiction.” 137 S. Ct. at 1781.

 5          Asserting jurisdiction over BP p.l.c. in this action would directly disregard the teachings of

 6   these controlling decisions, because it would effectively authorize specific jurisdiction everywhere.

 7   This is true even if some quantum or character of in-forum conduct less than a but-for cause could

 8   ever satisfy the “arises out of or relates to” requirement, which, under controlling Ninth Circuit case

 9   law, it cannot do. Subsidiaries of integrated global energy businesses such as these defendants operate

10   around the nation and world. If a forum nexus as thin as the Cities have presented here sufficed to

11   require BP p.l.c. to defend this claim in this Court, the same “global reach” would presumably be

12   available everywhere BP p.l.c.’s subsidiaries have operations, which would impermissibly “resemble[]

13   a loose and spurious form of general jurisdiction” even broader than pre-Daimler AG cases allowed.

14
                    d.      Describing the operational details of indirect subsidiaries is not a
15                          substitute for pleading and proving the required but-for causation

16          In amending their complaints, the Cities added new allegations that describe operational details

17   of various California and U.S. activities of indirect subsidiaries of BP p.l.c. For example, the amended

18   complaints describe certain California and U.S. refining operations; pipeline, distribution, and other

19   logistics operations; and production activities in the Gulf of Mexico and Alaska. (FAC ¶¶ 33, 38-48.)

20   The Cities seemingly hope to obscure their inability to plead and prove necessary but-for causation by
21   layering on heavy embroidery about the operational facts of the California and U.S. connections upon

22   which they rely. The Cities may not cure their deficient causation case merely by pointing to more or

23   different contacts, however; the Supreme Court squarely rejected such a “sliding scale approach”

24   under which “the strength of the requisite connection between the forum and the specific claims at

25   issue is relaxed if the defendant has extensive forum contacts.” Bristol-Myers Squibb Co., 137 S. Ct.

26   at 1781. Thus, whatever the nature and extent of BP p.l.c.’s imputed forum contacts, the Cities’

27   burden to satisfy the distinct requirement of proving an adequate but-for causal nexus remains the

28   same. Id.

                                                     - 17 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 23 of 25



 1          More fundamentally, dressing up the fossil fuel production that is the gravamen of these claims

 2   with a hodgepodge of other supposed forum “connections” does not help the Cities meet their burden

 3   to demonstrate that BP p.l.c.’s imputed forum activities are a but-for cause of their claimed harm. This

 4   is so because embroidery about logistics and marketing efforts—activities such as importing Alaskan

 5   crude oil to California, and maintaining a company Web site that promotes gasoline sales—does not

 6   enhance in any way the Cities’ own estimation of the contribution BP p.l.c.’s forum activities made to

 7   climate change-induced sea-level rise, which rests entirely on BP p.l.c.’s extraction of oil and natural

 8   gas. Thus, even if it were true that, for example, BP p.l.c. operates California port facilities to receive

 9   crude oil and advertises gasoline on its Web site accessible in California, the total contributions that all

10   of BP p.l.c.’s imputed California and U.S. activities made, under the Cities’ attribution analysis, to

11   worldwide greenhouse gas emissions from human causes could at most be a fraction of a fraction of

12   the 2.47% that the Cities attribute to BP p.l.c.’s worldwide, beginning-of-time production. That

13   miniscule contribution is inadequate to constitute a but-for cause for all the reasons discussed above;

14   embellishing them with operational details cannot bring the Cities any closer to showing that the

15   claimed nuisance would have been avoided but for BP p.l.c.’s forum activity.

16          2.      Exercising Jurisdiction over BP p.l.c. Would Be Unreasonable
17          Even if the first two requirements for specific jurisdiction are met, “in order to satisfy the Due

18   Process Clause, the exercise of personal jurisdiction must be reasonable.” Panavision Int’l, L.P. v.

19   Toeppen, 141 F.3d 1316, 1322 (9th Cir. 1998). To be reasonable, jurisdiction “must comport with

20   ‘fair play and substantial justice.’” Id. (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476
21   (1985)). The Ninth Circuit has identified several factors to be considered in addressing the question of

22   reasonableness, some of which are “no longer weighed heavily.” Id. at 1323-24 (noting reduced

23   importance of “(5) the most efficient judicial resolution of the controversy” and “(6) the importance of

24   the forum to the plaintiff’s interest in convenient and effective relief”).

25          The Supreme Court, meanwhile, instructs that the “primary concern” in determining whether

26   jurisdiction is present is “the burden on the defendant.” Bristol-Myers Squibb Co., 137 S. Ct. at 1780

27   (quoting World-Wide Volkswagen Corp., 444 U.S. at 292). Relevant burdens include not only “the

28   practical problems resulting from litigating in the forum,” but also “the more abstract matter of

                                                      - 18 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 24 of 25



 1   submitting to the coercive power of a State that may have little legitimate interest in the claims in

 2   question.” Id. Concern for the latter recognizes that restrictions on personal jurisdiction are in part “a

 3   consequence of territorial limitations on the power of the respective States” and nations. Id. These

 4   “federalism” and “comity” interests at times “may be decisive.” Id. As the Court has explained,

 5   “[e]ven if the defendant would suffer minimal or no inconvenience from being forced to litigate before

 6   the tribunals of another State; even if the forum State has a strong interest in applying its law to the

 7   controversy; even if the forum State is the most convenient location for litigation, the Due Process

 8   Clause, acting as an instrument of interstate federalism, may sometimes act to divest the State of its

 9   power to render a valid judgment.” Id. at 1780-81. These recent Supreme Court analyses effectively

10   blend and elevate the importance of four of the Ninth Circuit’s reasonableness factors: “(2) the burden

11   on the defendant in defending in the forum; (3) the extent of conflict with the sovereignty of the

12   defendant’s state; (4) the forum state’s interest in adjudicating the dispute”; and “(7) the existence of

13   an alternative forum.” See Panavision Int’l, L.P., 141 F.3d at 1323.

14          Jurisdiction over BP p.l.c. would be unreasonable under all of these factors because using U.S.

15   common law to regulate worldwide fossil fuel production by hailing an English parent company that

16   does not do business in the state or nation into a California forum would elevate the state’s sovereignty

17   beyond any appropriate bounds. The state admittedly has an interest in protecting its coastal property.

18   But the Cities’ claims purportedly reach all worldwide fossil fuel production by BP p.l.c. and the other

19   defendants, and neither California nor the United States has any greater interest in applying its own

20   tort law to that production than any other state or nation would. The sovereignty of the UK courts
21   with respect to this controversy, moreover, implies a limitation on the sovereignty of the California

22   and U.S. courts, Bristol-Myers Squibb Co., 137 S. Ct. at 1780, particularly as UK courts resist

23   “uninhibited approach[es] to personal jurisdiction” that draw their local corporations into existential

24   litigation in multiple fora, Daimler AG, 134 S. Ct. at 763.

25          These concerns are real and practical, not merely theoretical. If jurisdiction were reasonable in

26   this case, and this Court rendered a judgment effectively regulating defendants’ worldwide fossil fuel

27   production, thereby reshaping global energy policy, that exercise might then be repeated in the courts

28   of every other state and nation that have similarly tenuous claims to jurisdiction over BP p.l.c., with

                                                      - 19 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
         Case 3:17-cv-06011-WHA Document 278 Filed 06/20/18 Page 25 of 25



 1   innumerable conflicting outcomes. California and the United States do not have any unique interest in

 2   this claim involving conduct and alleged effects dispersed throughout the globe.

 3                                                Conclusion
 4          For all the foregoing reasons, BP p.l.c. respectfully requests that the Court grant this motion

 5   and dismiss the first amended complaints as against BP p.l.c. for lack of personal jurisdiction.

 6

 7   Dated: June 20, 2018.                              ARNOLD & PORTER KAYE SCHOLER LLP

 8

 9                                                      By:    /s/ Jonathan W. Hughes
                                                              Jonathan W. Hughes
10                                                            Matthew T. Heartney
                                                              John D. Lombardo
11                                                            Philip H. Curtis
                                                              Nancy Milburn
12
                                                              Attorneys for Defendant BP p.l.c.
13

14

15

16

17

18

19

20
21

22

23

24

25

26

27

28

                                                    - 20 -
      BP P.L.C.’S AMENDED MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
               DISMISS FIRST AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION
                           Case No. 3:17-cv-06011-WHA; Case No. 3:17-cv-06012-WHA
